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 3
                        UNITED STATES DISTRICT COURT
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                       CENTRAL DISTRICT OF CALIFORNIA
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     TISHA JAMISON,                            Case No.: 2:20-cv-03747-DSF-KS
 7
 8                Plaintiff,                    ORDER OF DISMISSAL WITH
                                                PREJUDICE AS TO DEFENDANT
 9
           v.                                   FIRST PREMIER BANK
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     FIRST PREMIER BANK,
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13               Defendant.
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17         Upon review of the Parties’ Stipulation of Dismissal with Prejudice of
18   Defendant First Premier Bank, and good cause appearing,
19         IT IS ORDERED that the Stipulation is GRANTED.
20         The above-entitled matter is hereby dismissed with prejudice, as to
21   Defendant First Premier Bank, with the parties to bear their own attorneys’ fees,
22   costs, and expenses.
23         IT IS SO ORDERED.
24    DATED: August 27, 2020
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26                                           Honorable Dale S. Fischer
                                           UNITED STATES DISTRICT JUDGE
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